Case 1:03-md-01570-GBD-SN Document 2003 Filed 08/02/07 Page 1 of 3
Case 1:03-md-01570-GBD-FM Document 343 Filed 07/28/2004 Page 1 of 3

UNITED STATES DISTRICT COURT 3) 8) 8 MT
FOR THE SOUTHERN DISTRICT OF NEW YORK. - LAT
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' [gl XS Paes.
In Re Terrorist Attacks on September 11,2001: 03 MDL 1516.40! tw: _ Aug o2 2007 |
: ECF Case a
x
RELATES To! O3cv 64 76(6s)) :
FEDERAL INSURANCE CO., et al .
SO ORDERED
Plaintiffs,
v.
AL QAIDA et al., :
Defendants. :
Xx

CONSENT MOTION AND STIPULATION AS TO SERVICE OF PROCESS
AND EXTENSION OF TIME

WHEREAS, on or about May 26, 2004, plaintiffs attempted to effect service of process
upon DMI Administrative Services S.A. (“DMI S.A.”) in Geneva, Switzerland; and

WHEREAS, on or about May 26, 2004, plaintiffs attempted to effect service of process
upon Islamic Investment Company of the Gulf (Sharjah) (“IICGS”) in or around Sharjah, the
United Arab Emirates; and

WHEREAS, plaintiffs, DMI S.A., and HCGS have had discussions pursuant to which the
aforementioned parties have agreed to avoid motion practice regarding the validity and
effectiveness of such attempted service, the parties having conferred hereby move the Court to
adopt this Stipulation as to Service of Process and Extension of Time to Respond.

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between
counsel to the respective parties, that the time for I[CGS to answer or otherwise respond to the

First Amended Complaint shall be extended to and through September 10, 2004.

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Case 1:03-md-01570-GBD-SN Document 2003 Filed 08/02/07 Page 2 of 3
Case 1:03-md-01570-GBD-FM Document 343 Filed 07/28/2004 Page 2 of 3

IT [IS FURTHER HEREBY STIPULATED AND AGREED that the time for DMI S.A.
to answer or otherwise respond to the First Amended Complaint shall be extended to and through
September 17, 2004.

IT IS FURTHER HEREBY STIPULATED AND AGREED that plaintiffs’ response to
DMIS.A.’s and IICGS’ responsive pleadings, if any, shall be served within sixty days of receipt
of same from defendant's counsel; and that defendants shall file reply papers within fourteen
days of receipt of plaintiffs' opposing papers, if any.

IT IS FURTHER HEREBY STIPULATED AND AGREED that DMI S.A. and IICGS
hereby and permanently waive, before this Court and/or any other United States Court in any
United States jurisdiction in which proceedings in this action may take place, any and all
objections to the form, method, and effectiveness of the service attempted to be effected upon it
in this action by plaintiffs, and specifically agree that this service of process and this stipulation
will constitute sufficient service of process under the Hague Convention and waive all arguments
to the contrary.

IT IS FURTHER HEREBY STIPULATED AND AGREED that DMI $.A. and IICGS
hereby and permanently waive, in any proceeding taking place outside of the United States

related to this action, any and all arguments or claims that the form, method, and effectiveness of
the service attempted to be effected upon it in this action by plaintiffs was defective or improper
in any way.

IT IS FURTHER HEREBY STIPULATED AND AGREED that this Stipulation is
entered into without prejudice to the ability of IICGS to move the Court for an additional
extension of time upon or prior to September 10, 2004, to the ability of DMI S.A. to move the

Court for an additional extension of time upon or prior to September 17, 2004, and/or to any

objections that plaintiffs may make to such a motion.

NEWYORK 4121863 ¥1 (2K)

Case 1:03-md-01570-GBD-SN Document 2003 Filed 08/02/07 Page 3 of 3

Case 1:03-md-01570-GBD-FM Document 343

Filed 07/28/2004 Page 3of3

IT IS FURTHER HEREBY STIPULATED AND AGREED that the parties hereto

reserve all rights and defenses not specifically addressed hereby.

Dated: New York, New York
July LF 2004

Respectfully submitted,

COZEN O’CONNOR

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Bipot . Heldman

J. Scott Tarbutton
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Investment Company of the Gulf (Sharjah)

NEWYORK 4121863 v1 (2K} -3-
